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                         UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF LOUISIANA


JOYCE MARIE MOORE, ET AL.                                     CIVIL ACTION

VERSUS                                                        NO. 65-15556

TANGIPAHOA PARISH SCHOOL                                      SECTION “B” (1)
BOARD

                                         ORDER

       In view of the parties' recently filed post hearing briefs

and the court's need to conduct additional reviews,

       IT   IS    ORDERED    that   oral      argument   will    be    received    on

Tuesday,     February       11,   2020   at    9:30   a.m.,    thereby    continuing

tomorrow’s        proceedings     for    those    purposes.     Each     side   shall

have   up    to    30   minutes     to   present      argument.       Proponents may

reserve time for rebuttal argument provided they do so                            from

within their originally allotted 30 minutes.


         New Orleans, Louisiana this 4th day of February 2020



                                  _____________________________________
                                   SENIOR UNITED STATES DISTRICT JUDGE
